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                       UNITED STATES DISTRICT COURT
                       WESTERN DISTRICT OF TENNESSEE
                             EASTERN DIVISION

ALPHONSO RICHARDSON,                              )
                                                  )
         Plaintiff,                               )
                                                  )
VS.                                               )           No. 19-1263-JDT-cgc
                                                  )
QUALITY CORRECTIONAL                              )
HEALTHCARE, ET AL.,                               )
                                                  )
         Defendants.                              )


                            ORDER DISMISSING CASE,
            CERTIFYING AN APPEAL WOULD NOT BE TAKEN IN GOOD FAITH
                AND NOTIFYING PLAINTIFF OF APPELLATE FILING FEE


         On September 3, 2020, the Court issued an order directing Plaintiff Alphonso Richardson,

the pro se prisoner Plaintiff, to file a single amended complaint that includes all of his claims and

complies with Federal Rule of Civil Procedure 8(a). (ECF No. 18.) Richardson was warned that

if he failed to comply within twenty-one days, the Court would dismiss the case without further

notice for failure to prosecute. (Id. at PageID 102.)

         Richardson has not filed an amended complaint as directed, and the time within which to

do so has expired. Therefore, this case is DISMISSED without prejudice in its entirety pursuant

to Federal Rule of Civil Procedure 41(b) for failure to prosecute and to comply with the Court’s

order.

         Pursuant to 28 U.S.C. § 1915(a)(3) and Federal Rule of Appellate Procedure 24(a), it is

CERTIFIED that an appeal by Richardson in this matter would not be taken in good faith. If

Richardson nevertheless chooses to file a notice of appeal, he must either pay the entire $505
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appellate filing fee or submit, in compliance with 28 U.S.C. §§ 1915(a)-(b), a new in forma

pauperis affidavit and a current copy of his inmate trust account statement for the last six months.

       The Clerk is directed to prepare a judgment.

IT IS SO ORDERED.
                                                       s/ James D. Todd
                                                      JAMES D. TODD
                                                      UNITED STATES DISTRICT JUDGE




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